                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                        Case No. 1:16-cv-08637
 LITIGATION
                                                        Hon. Thomas A. Durkin

 This Document Relates To:                              Magistrate Judge Jeffrey T. Gilbert
 Direct Purchaser Actions


   DIRECT PURCHASER PLAINTIFFS’ STATEMENT REGARDING THE COURT’S
            MAY 11, 2021 ORDER AND HEARING ON MAY 14, 2021

           Direct Purchaser Plaintiffs (“DPPs”) have reviewed the Court’s May 11, 2021 Order (ECF

No. 4626) in advance of the hearing on May 14, 2021, in particular the Court’s question numbers

6 and 7 regarding the composition of the trial in October of 2022. In responding to these questions,

DPPs intend to refer to their letter brief regarding their proposed trial plan (ECF No. 3400, January

10, 2020), which was heard by the Court during the January 17, 2020 status conference (ECF No.

3412). DPPs are fully committed to proceeding to trial on their claims beginning on October 17,

2022 and intend to confer with the other parties regarding the trial plan prior to the May 14, 2021

hearing. DPPs look forward to discussing the October 2022 trial during the May 14, 2021 hearing

and the further briefing regarding trial submissions scheduled for June 15, 2021.



 Date: May 12, 2021

                                                     /s/ Steven A. Hart
 Clifford H. Pearson                                 Steven A. Hart (#6211008)
 Bobby Pouya                                         Brian Eldridge (#6281336)
 Michael H. Pearson                                  John Marrese (#6306516)
 Thomas J. Nolan                                     Kyle Pozan (#6306761)
 PEARSON SIMON & WARSHAW, LLP                        HART MCLAUGHLIN & ELDRIDGE, LLC
 15165 Ventura Boulevard, Suite 400                  22 West Washington Street, Suite 1600


949927.3                                         1
 Sherman Oaks, CA 92403                             Chicago, IL 60602
 Telephone: (818) 788-8300                          Telephone: (312) 955-0545
 Facsimile: (818) 788-8104                          Facsimile: (312) 971-9243
 cpearson@pswlaw.com                                shart@hmelegal.com
 bpouya@pswlaw.com                                  beldridge@hmelegal.com
 mpearson@pswlaw.com                                jmarrese@hmelegal.com
 tnolan@pswlaw.com                                  kpozan@hmelegal.com

 Bruce L. Simon                                     Direct Purchaser Plaintiffs’ Interim Liaison
 PEARSON, SIMON & WARSHAW, LLP                      Counsel
 350 Sansome Street, Suite 680
 San Francisco, CA 94104
 Telephone: (415) 433-9000
 Facsimile: (415) 433-9008
 bsimon@pswlaw.com

 W. Joseph Bruckner
 Brian D. Clark
 Simeon A. Morbey
 LOCKRIDGE GRINDAL NAUEN P.L.L.P.
 100 Washington Avenue South, Suite 2200
 Minneapolis, MN 55401
 Telephone: (612) 339-6900
 Facsimile: (612) 339-0981
 wjbruckner@locklaw.com
 bdclark@locklaw.com
 samorbey@locklaw.com

 Direct Purchaser Plaintiffs’ Interim Co-Lead
 Class Counsel




949927.3                                        2
